




Affirmed and Memorandum Opinion filed November 1, 2007








Affirmed
and Memorandum Opinion filed November 1, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00132-CR

____________

&nbsp;

KEVIN MICHAEL OGILVIE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 337th District
Court

&nbsp;Harris County, Texas

Trial Court Cause No.
1076759

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a plea of guilty to the offense of murder.&nbsp; The jury assessed
punishment and sentenced appellant to confinement for ninety-nine years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a notice of appeal.








Appellant=s appointed counsel filed a brief in
which he concludes the appeal is wholly frivolous and without merit. The brief
meets the requirements of Anders v. California, 386 U.S. 738, 87 S.Ct.
1396 (1967), presenting a professional evaluation of the record demonstrating
why there are no arguable grounds to be advanced.&nbsp; See High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy
of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; As of this date, more
than sixty days has elapsed and no pro se response has been filed.

We have
carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 1, 2007.

Panel consists of Chief Justice Hedges, Justices
Anderson and Frost.&nbsp; 

Do Not Publish C Tex. R. App. P.
47.2(b).





